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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                        Civil Case Number: 6:17-cv-00078-RBD-GJK

                                                 :
James Bradford,                                  :
                                                 :
                      Plaintiff,                 :
                                                 :
       v.                                        :
                                                 :
One Main Financial Services, Inc.; and DOES      :
                                                                                               (
1-10, inclusive,                                 :
                                                                                               D
                                                 :
                                                                                               R
                      Defendants.                :
                                                                                               H
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: March 17, 2017
                                             Respectfully submitted,

                                             By __/s/ Stan Michael Maslona _______________

                                             Stan Michael Maslona, Esq.
                                             Florida Bar No. 86128
                                             LEMBERG LAW, L.L.C.
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                                             Wilton, CT 06897
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2017, a true and correct copy of the foregoing Notice

of Settlement was served electronically by the U.S. District Court Eastern District of Middle

District of Florida Electronic Document Filing System (ECF) and that the document is available

on the ECF system.


                                             By_/s/ Stan Michael Maslona_________

                                                    Stan Michael Maslona, Esq.
